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  Fallout 4
  Fallout 4 is a post-apocalyptic action role-playing video game developed by
                                                                                                    Fallout 4
  Bethesda Game Studios and published by Bethesda Softworks. It is the fifth
  major installment in the Fallout series and was released worldwide on
  November 10, 2015, for Microsoft Windows, PlayStation 4 and Xbox One. The
  game is set within an open world post-apocalyptic environment that
  encompasses the city of Boston and the surrounding Massachusetts region
  known as "The Commonwealth". The main story takes place in the year 2287,
  ten years after the events of Fallout 3 and 210 years after "The Great War",
  which caused catastrophic nuclear devastation across the United States.

  The player assumes control of a character referred to as the "Sole Survivor",
  who emerges from a long-term cryogenic stasis in Vault 111, an underground
  nuclear fallout shelter. After witnessing the murder of their spouse and
  kidnapping of their son, the Sole Survivor ventures out into the
  Commonwealth to search for their missing child. The player explores the
  game's dilapidated world, complete various quests, help out factions, and           Developer(s)       Bethesda Game
  acquire experience points to level up and increase the abilities of their                              Studios
  character. New features to the series include the ability to develop and manage     Publisher(s)       Bethesda
  settlements, and an extensive crafting system where materials scavenged from                           Softworks
  the environment can be used to craft drugs and explosives, upgrade weapons          Director(s)        Todd Howard
  and armor, and construct, furnish and improve settlements. Fallout 4 also
                                                                                      Producer(s)        Jeff Gardiner
  marks the first game in the series to feature full voice acting for the
                                                                                      Designer(s)        Emil Pagliarulo
  protagonist.
                                                                                      Programmer(s)      Guy Carver
  Fallout 4 received positive reviews from critics with many praising the world
                                                                                      Artist(s)          Istvan Pely
  depth, player freedom, overall amount of content, crafting, and soundtrack,
                                                                                      Writer(s)          Emil Pagliarulo
  while criticism was mainly directed at the game's visuals and technical issues.
  The game was a commercial and critical success, generating US$750 million           Composer(s)        Inon Zur
  within the first 24 hours of its launch, and received numerous accolades from       Series             Fallout
  various gaming publications and award events, including the respective awards
                                                                                      Engine             Creation Engine
  for Game of the Year and Best Game at the Academy of Interactive Arts &
                                                                                      Platform(s)        Microsoft
  Sciences and British Academy Games Awards. Bethesda has released six
                                                                                                         Windows
  downloadable content add-ons, including the expansions Far Harbor and
                                                                                                         PlayStation 4
  Nuka-World.
                                                                                                         Xbox One
                                                                                      Release            November 10,
                                                                                                         2015

     Contents                                                                         Genre(s)           Action role-
                                                                                                         playing
     Gameplay                                                                         Mode(s)            Single-player
     Plot
            Setting
            Characters

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     Development
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  Gameplay
  Fallout 4 is an action role-playing game set in an open world environment, gameplay is similar to that of Fallout 3 and
  Fallout: New Vegas, the two previous primary iterations in the series. Returning features include a camera that can switch
  between a first-person and third-person perspective. Fallout 4 introduces features including a layered armor system, base-
  building, a dialogue system featuring 111,000 lines of dialogue,[1] a crafting system which implements every lootable object
  in the game. Enemies such as Mole Rats, Raiders, Super Mutants, Deathclaws, and Feral Ghouls return in Fallout 4, along
  with the companion Dogmeat.[2]

  The player has the ability to freely roam in the game's world and leave a conversation at any time. If the player has
  discovered a certain location they may fast-travel to it. They have the ability to customize weapons; the game includes over
  50 base guns, which can be crafted with a variety of modifications, such as barrel types and laser focus, with over 700
  modifications available. Power Armor has been redesigned to be more like a vehicle than an equipable suit of armor,
  requiring fuel and being essentially dead weight without it[3] and can be modified, allowing the player to add items such as
  a jetpack or selecting separate types of armor for each part of the suit.[4]

  A new feature to the series is the ability to craft and deconstruct settlements and buildings. The player can select some in-
  game objects and structures, and use them to freely build their own structures. In addition, the towns can be powered with
  working electricity, using a power line system. Merchants and non-player characters can inhabit the player's settlements,
  for which the player must provide sustenance by growing food in makeshift patches and building waterspouts. The player
  can build various defenses around their settlements, such as turrets and traps, to defend against random attacks.[5]

  The Pip-Boy, a personal computing device strapped to the player character's wrist, allows the player to access a menu with
  statistics, maps, data, and items the player has acquired. The player can find game cartridges, which can be played on the
  Pip-Boy or a terminal. A new feature for the Pip-Boy interface is a downloadable application for iOS, Android, and
  Windows smartphones and tablets. This optional app allows players to access the Pip-Boy interface on a separate screen,
  and play the collected game cartridges when not playing the main game. Another returning gameplay feature is the Vault-
  Tec Assisted Targeting System (V.A.T.S.). While using V.A.T.S., real-time combat is slowed down (instead of stopped
  entirely as in previous entries), and action is played out from varying camera angles in a computer graphics version of
  "bullet time". Various actions cost points, limiting the actions of each combatant during a period of time, and the player
  can target specific body parts for attacks to inflict specific injuries; headshots can be used for quick kills or to blind, legs


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                                                          can be targeted to slow enemy movement, and opponents can be
                                                          disarmed by shooting at their weapons. Unlike previous games, in
                                                          which the player had a random chance to inflict a critical hit, they
                                                          are now performed manually through V.A.T.S.[6]

                                                          At the beginning of the game, players are given points to spend on
                                                          a character progression system called S.P.E.C.I.A.L.. The system
                                                          represents      seven         statistics,   namely   strength,   perception,
                                                          endurance, charisma, intelligence, agility, and luck. When the
    When using V.A.T.S., real-time action is slowed       player earns enough experience points to gain a new level, they
    down, and players can see the probability of
                                                          unlock an ability. When the player allocates more points to a
    hitting each body part of the enemies through a
                                                          statistic, more abilities can be unlocked. These perks can also be
    percentage ratio displayed here on the
    PlayStation 4 version                                 upgraded to improve the protagonist's efficiency and to further
                                                          unlock abilities.[7] There are about 275 perks available for the
                                                          player to unlock. There is no level cap and the game does not end
  once the main story is        complete.[8]

  The player may only travel with one companion at a time, although the player is accompanied by other characters in
  certain quests. For the first time in the series, these companions can interact with the environment on the player
  character's behalf. For example, if the player character does not have required skills to hack a terminal or pick a lock, they
  can order the companion to do it for them. The companion present will react to some of the player's actions in four ways
  (love, like, dislike, or hate). Raising a companion's approval to 1,000 points will result in them "idolizing" the player and
  granting a specific perk. However, if their approval drops low enough, they will turn hostile or leave. Some recruitable
  companions also provide additional perks for the player, such as Codsworth, who provides bonus Energy Resistance.


  Plot

  Setting
  Fallout 4 takes place in the year 2287, ten years after the events of Fallout 3 and 210 years after the Great War, a war
  between the United States and China over natural resources that ended in a nuclear holocaust in 2077. The setting is a
  post-apocalyptic retro-future, covering a region that includes Boston, Massachusetts and other parts of New England
  known as "The Commonwealth". Unlike the previous titles, Fallout 4's story begins on the day the bombs dropped:
  October 23, 2077.

  The game takes place in an alternate version of history that sees the 1940s and 1950s aesthetics such as diners and a drive-
  in theater. The design and technology advance in the directions imagined at the time. The resulting universe is thus a
  retro-futuristic one, where the technology has evolved enough to produce laser weapons, manipulate genes and create
  nearly-autonomous artificial intelligence, but all within the confines of 1950s solutions like the widespread use of atomic
  power and vacuum tubes, as well as having the integrated circuitry of the digital age. The architecture, advertisements and
  general living styles are also depicted to be largely unchanged since the 1950s, while including contemporary products,
  such as a robotic rocking horse for children in one advertisement, or posters for the underground Vaults that play a central
  role in the storyline of the game. There are four main factions that the player can choose to support throughout the story;
  the Brotherhood of Steel, an anti-synth faction hoping to preserve technology in the Commonwealth; the Institute, a
  secretive organization that creates "synths"; the Minutemen; a faction that aims to drive out raiders and other threats to
  the Commonwealth; and the Railroad, a secretive organization dedicated to rescuing synths.


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  Characters
  The player's character (voiced by either Brian T. Delaney or Courtenay Taylor) takes shelter in Vault 111, emerging exactly
  210 years later on October 23, 2287 and assuming the name of the "Sole Survivor".[9] There are thirteen possible
  companions in the story. Companions who must be encountered include Codsworth (Stephen Russell), the Sole Survivor's
  robot butler; Deacon (Ryan Alosio), a Railroad agent; Dogmeat, a loyal German Shepherd; John Hancock (Danny
  Shorago), the mayor of Goodneighbor; Nick Valentine (Stephen Russell), a synth detective; Piper Wright (Courtney Ford),
  an intrepid reporter; and Preston Garvey (Jon Gentry), the leader of the Minutemen. Of these companions, however, only
  Dogmeat is required to join. Optional companions include Cait (Katy Townsend), an Irish-accented cage fighter; Curie
  (Sophie Simone Cortina), a robot scientist turned Synth; Danse (Peter Jessop), a Brotherhood of Steel Paladin; MacCready
  (Matthew Mercer), a mercenary; Strong (Sean Schemmel), a human-sympathetic Super Mutant; and X6-88 (David
  Paluck), an Institute Courser. Cait, Curie, Danse, Hanock, MacCready, Piper, and Preston are romance options for a Sole
  Survivor of either gender provided they idolize them.[10]



  Story
  The story begins in 2077 in Sanctuary Hills, located near Concord, Massachusetts. The player character is at home with
  their spouse (Nate or Nora depending on the player character's gender), their son Shaun, and Codsworth. A representative
  from Vault-Tec admits the family into Vault 111, the local fallout shelter. Moments later, a news bulletin warns of an
  incoming nuclear attack. As the detonation occurs, the family evacuates to the Vault, where they are tricked into entering
  cryogenic tubes and frozen alive. After an unknown period of time, they are reawakened by two strangers. The player's
  spouse is murdered and Shaun is kidnapped. The player is put back into cryogenic sleep but awakens again when the life
  support system malfunctions. The player discovers that they are the sole survivor of Vault 111, and vows to avenge their
  spouse's death and find Shaun.

  The player character, known as the Sole Survivor, heads home to find Sanctuary Hills in ruins. They reunite with
  Codsworth, revealing that 210 years have passed since the war. Codsworth suggests that the Survivor goes to Concord for
  help. The Survivor finds and befriends Dogmeat, and rescues Preston Garvey, one of the last members of the Minutemen.
  The Sole Survivor then travels to Diamond City, a fortified settlement based in the ruins of Fenway Park, where they meet
  Piper. There, they learn about a secretive organization called the Institute that has been terrifying the Commonwealth by
  kidnapping people and replacing them with "synths", synthetic humans indistinguishable from real humans.

  The Sole Survivor seeks out Nick Valentine, a detective based in Diamond City, to locate their son. With his help, they
  uncover the identity of their spouse's killer: Conrad Kellogg. After learning from Kellogg that Shaun is being held in the
  Institute, the Sole Survivor kills him and retrieves a cybernetic implant from his brain for further access into his
  memories. During this time, the Brotherhood of Steel arrives in the Commonwealth on the Prydwen, an airship. The Sole
  Survivor learns from Brian Virgil, an ex-Institute scientist, that the only way into the Institute is by using a teleportation
  chip. After retrieving the chip, the Survivor decodes it with the help of the Railroad. Virgil provides the blueprints for the
  teleportation device, which the Sole Survivor constructs by allying with the Brotherhood, Minutemen, or Railroad.

  The Sole Survivor successfully enters the Institute and discovers that Shaun is the Institute's director. Shaun, now an old
  man calling himself Father, reveals that he was kidnapped by Kellogg to become a specimen for synth experiments due to
  his pure pre-war DNA, and that the Sole Survivor remained in stasis for a further sixty years before being awoken again.
  Shaun later reveals that he is dying of cancer and wishes for the Survivor to become his successor. The Sole Survivor can
  side with the Institute; if they do so, they initiate a purge in the Commonwealth, wiping out the Brotherhood and Railroad,
  and assume control of the Institute after Shaun's death. Otherwise, the Sole Survivor devises a plan with their faction to




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  fight the Institute. Siding with the Brotherhood or Railroad will force the Sole Survivor to destroy the other faction. The
  Sole Survivor detonates a nuclear reactor, destroying the Institute. After this feat, the Survivor must lastly wipe out any
  remaining hostile faction. Otherwise, they will remain neutral.


  Development

  Design
  Unlike the previous two titles—Fallout 3 and Fallout: New Vegas—which used the
  Gamebryo engine, Fallout 4 uses the Creation Engine, which was previously used in The
  Elder Scrolls V: Skyrim. Modified for Fallout 4, the Creation Engine includes a revamped
  character editor system that allows freeform creation of faces without the use of sliders
  seen in previous games. Instead, the player can click and drag each feature of the face to
  accurately customize their character, which can either be a man or woman as the previous
  Fallout titles have featured.[11] Bethesda announced that the game would run at 1080p
  resolution and 30 frames per second on PlayStation 4 and Xbox One.[12] Bethesda revealed
  that mobile devices would be integrated into the game as a form of second screen, acting as
  a secondary display for the Pip-Boy.[13]                                                         Todd Howard, game
                                                                                                   director of both Fallout 4
  For the first time in the Fallout series, the player's character, the Sole Survivor, is fully    and Fallout 3
  voice acted, including all decision-based dialogue options.[14] Brian T. Delaney and
  Courtenay Taylor are the two player character voice actors.[15]

  Todd Howard revealed that mods for the PC versions of the game would be usable on the Xbox One version and that the
  team hoped to bring them to the PlayStation 4 version eventually.[16][17] When asked about the failed effort to add a paid
  mod system to The Elder Scrolls V: Skyrim, Howard stated there were no plans for a similar effort with Fallout 4.[18] The
  mods created by PC players through The Creation Kit, which contains the official modding tools, were released for Xbox
  One players and PlayStation 4 in May 2016 and June 2016 respectively.[19] Fallout 4 mods were released to Xbox One in
  May 2016. PlayStation 4 mods were shot down by Sony in September 2016, but Bethesda announced a month later that
  mod support would still happen. As of November 2016, mod support for the PlayStation 4 version is present with the
  introduction of the 1.8 update.[20][21][22]



  Engine
  Fallout 4 uses Bethesda's Creation Engine, which was created for The Elder Scrolls V: Skyrim.[23] Just after Fallout 3's
  release, the team devised numerous design objectives to meet for Skyrim—which were updated for Fallout 4's hardware
  requirements. The updated Creation Engine allows for graphical improvements over Bethesda's previous efforts. For
  instance, the draw distance renders much farther than previous Fallout games.

  Dynamic lighting allows shadows to be created by any structure or item in the game world. Howard revealed in the E3
  Press Conference that the updated Creation Engine allows for next-generation god rays and advanced volumetric lighting.
  The updated engine features a variety of visual effects not present in previous Bethesda games such as motion blur,
  temporal anti-aliasing, height fog, dynamic dismemberment, screen space reflections, filmic tone mapping, an updated
  material system—for wet textures—among numerous others.[24] The updated engine allows the Bethesda team to add more
  dynamic lighting to every scene as well as "paint surfaces with realistic materials".[25] Bethesda released an example on
  how the updated engine works: "When a rain storm rolls in, our new material system allows the surfaces of the world to
  get wet, and a new cloth simulation system makes cloth, hair, and vegetation blow in the wind."[26]

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  The updated Creation Engine allows for a more advanced character creation system, which utilizes sculpting—forgoing the
  series of sliders present in previous games. In detail, the new character creation system introduces a new, freeform, slider-
  free facial editor controlled via dynamic, real-time modeling interface.[27]

  With regards to the aforementioned fluid animations, the updated engine also allows a much more open approach to
  conversations with NPCs—wherein the camera views can change depending on the player's preference from a first-person
  view to a cinematic third-person view—compared to Fallout 3's rigid and instanced conversation system. The protagonist
  features dynamic dialog, which is context sensitive and allows players to back out of a conversation. In Howard's words,
  "you are free to walk away anytime if you want, or you can even shoot him in the face."[28]


  Marketing and release
  On June 2, 2015, Bethesda published a countdown timer scheduled to
  expire on June 3, 2015, at 14:00 UTC.[29] The game's website went live
  slightly ahead of schedule, revealing the game along with its box art and
  platforms.[30][31] The site was taken down later but was put back up again at
  the scheduled time. The trailer was released when the countdown timer
  expired,[3] and the game was confirmed to take place in Boston and its
  surrounding         Massachusetts       countryside,   as   suggested   by    earlier
  rumors.[32][33]     More details were given during Bethesda's E3 2015 press
  conference on June 14, 2015.[34][35]                                                       A Volkswagen Type 2 customized to
                                                                                             promote Fallout 4 at Gamescom 2015
  Fallout 4 became available for pre-order following the product
  announcement. In addition to the standard edition of the game, there is a
  collector's edition which includes a wearable replica of the Pip-Boy. This is able to house a smartphone device, which can
  run the second screen functionality of the game.[36] As a pre-order bonus for the Windows version of the game, an
  announcer pack featuring the voice of Mister Handy was released for the multiplayer online battle arena game, Dota 2,
  developed by Valve Corporation.[37] Bethesda announced that Fallout 4 had gone gold on October 23, 2015.[38] The game
  was released for Windows, PlayStation 4 and Xbox One on November 10, 2015.[39]


  Post-release

  Updates
  After Fallout 4's release, Bethesda has released several patches to address some of the issues that were present at the
  game's launch along with presenting features that improve general gameplay. The first patch—coded as patch 1.2—fine-
  tuned the game by improving the frame rate. Patch 1.2 fixed a few bugs and errors present at the launch of the game but
  interfered with unofficial mod support.[40][41] Patch 1.3 improved the game's graphics on all platforms, along with
  presenting the game with new features such as an added status menu for settlers in settlements. With regard to the
  graphical updates introduced in this patch, the PC platform was given a new weapon debris effect and a new ambient
  occlusion setting. The patch fixed several bugs and glitches present in the game.[42] Patch 1.4 was designed to ready the
  game for the upcoming Creation Kit and downloadable content. Patch 1.4 brought a variety of additions to the settlement
  building mechanic of the game by adding a symbol to new content placed in by the modding community along with adding
  a variety of items, such as Raider and Super Mutant decors. The patch also brought general improvements to the game's
  stability.[43] The 1.5 patch added a revamped survival mode along with support for the downloadable and included bug
  fixes.[44] Similar to the previous Bethesda games, Fallout 4's fan community-created unofficial patches to address issues
  and bugs unaddressed by the official patches.[45][46][47]
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  During E3 2016, a virtual reality mode for the game was announced, to be released in 2017.          Fallout 4 VR was released
  as a stand-alone game on December 4, 2017, for PC on the HTC Vive       platform.[49]



  Downloadable content
  On February 16, 2016, Bethesda announced details, prices, and release dates for the first three add-ons for Fallout 4.[50][51]
  The first add-on, Automatron, which allows the player to build their custom robot companion by using robot parts while
  adding additional quests, was released to the European and North American markets on March 22, 2016.[52] This was
  followed by Wasteland Workshop on April 12, 2016, which introduces new build options for settlements and the ability for
  the player to put captured creatures or humans in a cage, and adds new decorations like neon lights and lettering.[53][54]
  The third add-on, titled Far Harbor, is a story expansion set in the post-war city of Far Harbor, Maine, and was released
  on May 19, 2016.[55][56][57] On June 12, 2016, at E3 2016, Bethesda revealed three new add-on packages for the game; the
  first two, Contraptions Workshop, released on June 21, 2016, and Vault-Tec Workshop, released on July 26, 2016, are
  structured similarly to the Wasteland Workshop add-on, offering the player more build options and decorations; the
  Vault-Tec Workshop also adds a brief narrative. Fallout 4's third add-on, Nuka-World, which was released on August 30,
  2016, adds an amusement park-based area for the player to explore, in which the player can either side with or put an end
  to various raider groups residing in the park. If the player decides to do the former, they can help one of the raider groups
  take control of various settlements in the Commonwealth from the base game.[58][59]



  Creation Club
  At E3 2017, Bethesda announced that Fallout 4 would support Creation Club, an in-game support system to purchase and
  download custom content.[60] Creation Club went live in August 2017.[61]


  Reception
  Fallout 4 received "generally favorable" reviews on all                                 Reception
  three platforms according to review aggregator
  Metacritic.

  GameSpot's Peter Brown awarded it a score of 9 out of
  10, saying "Fallout 4 is an argument for substance
  over style, and an excellent addition to the revered
  open-world series." Brown praised the "thought-
  provoking" narrative, "intuitive" creation tools, the
  large amount of content, the overall combat, and the
  overall freedom the player is given.[66] Game
  Informer's Andrew Reiner scored the game a 9 out of
  10 and said: "Bethesda has created another game you
  can lose your life in. New experiences just keep
  coming, and you always have another perk to unlock."
  Reiner praised the "vastly improved" combat, the
  "denser" world, and the "brilliant" score, but had
  mixed feelings about the visuals.[64] Dan Stapleton of
  IGN scored the game a 9.5 out of 10 and wrote: "The
  world, exploration, crafting, atmosphere, and story of
  Fallout 4 are all key parts of this hugely successful

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  sandbox role-playing game. Great new reasons to                                                    Aggregate score
  obsessively gather and hoard relics of happier times,
  strong companions, and sympathetic villains driving                                         Aggregator           Score

  tough decisions make it an adventure I'll definitely                                                         PC: 84/100[75]
  replay and revisit. Even the technical shakiness that                                                        PS4: 87/100[76]
                                                                                               Metacritic
  crops up here and there can't even begin to slow down                                                            XONE:
  its momentum."[71]                                                                                             88/100[77]

  Phil Savage of PC Gamer mentioned that Fallout 4 is                                                  Review scores
  "a loving production. It's filled with care and attention
                                                                                              Publication          Score
  to detail..." and that it was "a pleasure to pick through
  the world...". He concluded his review stating "...many                                     Destructoid         7.5/10[62]
  of Fallout 4's problems, like every Bethesda RPG
                                                                                                 EGM               9/10[63]
  before it, are a consequence of what makes them
  unforgettable."[72] Polygon awarded it a score of 9.5                                     Game Informer          9/10[64]
  out of 10, saying "Fallout 4 brings great gameplay to                                     Game Revolution                   [65]
  match its world and          ambiance".[73]   Destructoid gave
  the game a 7.5 out of 10, writing "a lot of the                                             GameSpot             9/10[66]
  franchise's signature problems have carried over                                           GamesRadar+                      [67]
  directly into Fallout      4."[78]
                                                                                             GameTrailers          9/10[68]

                                                                                                                       (PC)
  Sales                                                                                                                       [69]
  Fallout 4 sold 1.2 million copies on Steam in its first                                     Giant Bomb
                                                                                                                 (Consoles)
  24 hours of release.[79] The game also sold more                                                                            [70]

  digital than physical copies on day one of          launch.[80]
                                                                                                 IGN              9.5/10[71]
  With almost 470,000 concurrent Steam players on
  launch day, Fallout 4 broke Grand Theft Auto V's                                          PC Gamer (US)        88/100[72]
  record for having the most concurrent online players
                                                                                               Polygon            9.5/10[73]
  in    a    Steam       game      not    developed   by   Valve
  Corporation.[81] Bethesda shipped 12 million units to                                     VideoGamer.com         9/10[74]
  retailers within the first 24 hours.[82]
                                                                                                    Edit on wikidata
  In early 2017, Pete Hines announced that Fallout 4
  had sold more copies than Skyrim, though he would not provide an official number.[83]



  Awards
  Fallout 4 received numerous awards and nominations from gaming publications such as GameSpot,[84] GamesRadar,[85]
  EGM,[86] Game Revolution,[87] IGN,[88][89] and many more. The game received a game of the year award from the 19th
  ceremony of the Academy of Interactive Arts & Sciences—also known as D.I.C.E.—among numerous nominations for the
  award from The Game Awards, The Daily Telegraph,[90] PC Gamer,[91] IGN and more.[92] It was also placed on various
  lists of the best games of 2015 in which GameSpot put it at sixth,[84] GamesRadar at fourth,[93] among others top lists. The
  game also received awards and nominations for Role-playing game of the year with it winning the award from Game
  Critics and D.I.C.E. with nominations from various other gaming publications.[92]




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                                          List of awards and nominations for Fallout 4

     Year                       Award                   Category                          Recipient(s)    Result     Ref.
                                                 Best of Show                     Fallout 4                Won
               Game Critic Awards 2015           Best PC Game                     Fallout 4                Won       [92]

                                                 Best Role Playing Game           Fallout 4                Won

     2015      33rd Golden Joystick Awards       Most Wanted Game                 Fallout 4                Won       [94]

                                                 Game of the Year                 Fallout 4              Nominated
               The Game Awards 2015              Best Score/Soundtrack            Inon Zur               Nominated   [95]

                                                 Best Role Playing Game           Fallout 4              Nominated
     2016                                        Game of the Year                 Fallout 4                Won
                                                 Outstanding
                                                 Achievement in Game              Fallout 4                Won
                                                 Direction
                                                 Outstanding
                                                                                  Fallout 4              Nominated
                                                 Achievement in Story                                                [96]
               19th Annual D.I.C.E. Awards
                                                 Role-playing/Massively
                                                 Multiplayer Game of the          Fallout 4                Won
                                                 Year
                                                 Outstanding
                                                 Achievement in Game              Fallout 4              Nominated
                                                 Design
                                                 Game of the Year                 Fallout 4              Nominated
               16th Game Developers Choice                                                                           [97]
                                                 Best Design                      Fallout 4              Nominated
               Awards
                                                 Best Technology                  Fallout 4              Nominated
                                                 Game of the Year                 Fallout 4              Nominated
                                                 Excellence in Technical                                             [98]
               2016 SXSW Gaming Awards                                            Fallout 4              Nominated
                                                 Achievement
                                                 Excellence in Design             Fallout 4              Nominated
               15th National Academy of Video    Game of the Year                 Fallout 4              Nominated   [99]
               Game Trade Reviewers
               (NAVGTR) awards                   Animation, Artistic              Fallout 4              Nominated
                                                 Art Direction, Period
                                                                                  Fallout 4              Nominated
                                                 Influence
                                                 Art Direction,
                                                                                  Fallout 4              Nominated
                                                 Contemporary
                                                 Camera Direction in a
                                                                                  Fallout 4              Nominated
                                                 Game Engine
                                                 Character Design                 Fallout 4              Nominated
                                                 Costume Design                   Fallout 4              Nominated
                                                 Direction in a Game
                                                                                  Fallout 4              Nominated
                                                 Cinema
                                                 Game Design,
                                                                                  Fallout 4              Nominated
                                                 Franchise
                                                 Game Engineering                 Fallout 4              Nominated
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                                                Graphics, Technical             Fallout 4              Nominated
                                                                                Brian T. Delaney as
                                                Performance in a
                                                                                "Male Player           Nominated
                                                Drama, Lead
                                                                                Character"
                                                                                Stephen Russell as
                                                Performance in a
                                                                                "Codsworth/Nick        Nominated
                                                Drama, Supporting
                                                                                Valentine"
                                                Song, Original or
                                                                                "Good Neighbor"        Nominated
                                                Adapted
                                                Song Collection                 Fallout 4              Nominated
                                                Sound Editing in a
                                                                                Fallout 4              Nominated
                                                Game Cinema
                                                Sound Effects                   Fallout 4              Nominated
                                                Use of Sound, Franchise         Fallout 4              Nominated
                                                Writing in a Drama              Fallout 4              Nominated
                                                Game, Franchise Role
                                                                                Fallout 4              Nominated
                                                Playing

               12th British Academy Games       Best Game                       Fallout 4                 Won
                                                                                                                       [100]
               Awards                           Music                           Fallout 4              Nominated

               Game Critics Awards 2017         Best VR Game                    Fallout 4 VR           Nominated       [101]

     2017
                                                Best Virtual Reality                                                   [102]
               Gamescom 2017                                                    Fallout 4 VR              Won
                                                Game
                                                Control Design, VR              Fallout 4 VR           Nominated
               17th National Academy of Video   Direction in Virtual
                                                                                Fallout 4 VR           Nominated     [103][104]
     2018      Game Trade Reviewers             Reality
               (NAVGTR) awards
                                                Sound Mixing in Virtual
                                                                                Fallout 4 VR           Nominated
                                                Reality



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